Case 3:23-mc-80037-LB Document 16-2 Filed 03/06/23 Page 1 of 2




                     Exhibit "1"
           Case 3:23-mc-80037-LB Document 16-2 Filed 03/06/23 Page 2 of 2


From:            njdefiling@njd.uscourts.gov
To:              njdefiling@njd.uscourts.gov
Subject:         Activity in Case 3:21-cv-15310-GC-TJB BODYGUARD PRODUCTIONS, INC et al v. RCN TELECOM SERVICES, LLC
                 et al Pretrial Conference - Initial
Date:            Tuesday, December 6, 2022 10:11:53 AM




This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
RESPOND to this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
policy permits attorneys of record and parties in a case (including pro se litigants) to
receive one free electronic copy of all documents filed electronically, if receipt is required
by law or directed by the filer. PACER access fees apply to all other users. To avoid later
charges, download a copy of each document during this first viewing. However, if the
referenced document is a transcript, the free copy and 30 page limit do not apply.

                                            U.S. District Court

                                    District of New Jersey [LIVE]

Notice of Electronic Filing

The following transaction was entered on 12/6/2022 at 3:10 PM EST and filed on 12/5/2022
                  BODYGUARD PRODUCTIONS, INC et al v. RCN TELECOM
Case Name:
                  SERVICES, LLC et al
Case Number: 3:21-cv-15310-GC-TJB
Filer:
Document
                  No document attached
Number:

Docket Text:
Text Minute Entry for proceedings held before Magistrate Judge Tonianne J.
Bongiovanni: Initial Pretrial Conference held on 12/5/2022. The parties'
settlement positions is to be submitted by 12/20/2022. If not ripe for settlement,
the parties will propound discovery requests. Substantive objections as well as
the parties' position regarding bifurcation to focus on safe harbor defense, to
be submitted by 2/2/2023. The discovery schedule will thereafter be addressed.
(jem)


3:21-cv-15310-GC-TJB Notice has been electronically mailed to:

EDWARD FREDERICK BEHM ebehm@atllp.com, gconroy@armstrongteasdale.com,
genevieve-conroy-5797@ecf.pacerpro.com, iplitstaff@ArmstrongTeasdale.com

MICHAEL CUKOR             mcukor@mcgearycukor.com, vmcgeary@mcgearycukor.com

3:21-cv-15310-GC-TJB Notice has been sent by regular U.S. Mail:
